                 IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

RAMIREZ, et al.,                              )
                                              )         No. 05 CV 317
               Plaintiffs                     )
                                              )         Judge Shadur
       v.                                     )
                                              )
CITY OF CHICAGO, et al.,                      )
                                              )
               Defendants.                    )

            MOTION TO MODIFY THE PROTECTIVE ORDER
            SO THAT PLAINTIFFS’ COUNSEL MAY PRODUCE
     DOCUMENTS IN ANOTHER MATTER AGAINST THE CITY OF CHICAGO

       Now come counsel for Plaintiffs and seek modification of the Court’s protective order in

this case, Doc. 115, and in support state as follows:

       1.        During discovery in this case, Defendant City of Chicago produced a number of

Chicago Police Department Complaint Register files (“CR files”) pertaining to alleged acts of

misconduct by members of the Chicago Police Department’s Special Operations Section (SOS)

as well as other Chicago Police officers.

       2.      The Court specifically found that C.R. files produced in the case were “public,” 1

but also set forth procedures to be followed if counsel wished to produce them in un-redacted

form to any other party. Exhibit A (Doc. No. 115 (May 9, 2006 Order)) ¶ E.

       3.      The C.R. files produced in this case are relevant to claims Plaintiffs’ counsel is

litigating against the City of Chicago in another matter, Baker v. City of Chicago, No. 16 cv 8690

(N.D. Ill.). Both cases concern patterns of corruption and criminal misconduct by groups of

Chicago Police Department tactical officer in the 2004 to 2005 time period and the City’s

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  Since the time that this Court made the finding that C.R. files are “public,” the Illinois
Appellate Court has confirmed that the City’s C.R. files are subject to disclosure under the
Illinois Freedom of Information Act. See Kalven v. City of Chicago, 2014 IL App (1st) 121846.
response to those patterns of misconduct. See, e.g., Exhibit B (Baker v. City of Chicago, First

Amended Complaint). Accordingly, Plaintiffs’ counsel wishes to produce the C.R. files from this

litigation in the Baker litigation.

        4.      The May 9, 2006 protective order indicates that those documents may be viewed

by counsel of record in the Ramirez case only, which would preclude Plaintiffs’ counsel from

producing these documents to the City’s counsel in the Baker litigation. (The City has different

lawyers in Baker than it did in Ramirez, and the individual officers in Baker are represented by

lawyers who did not appear in the Ramirez case.)

        5.      There is no reason, however, why Plaintiffs’ counsel should not be able to

disclose these documents to the parties in Baker.

        6.      As this Court previously noted, the C.R. files produced in this case are “public,”

except that information like personal addresses, social security numbers, telephone numbers, and

dates of birth should not be publicly disseminated. Exhibit A (May 9, 2006 Order) at ¶ E.2.

Plaintiffs’ counsel does not intend to publicly disseminate any of the un-redacted C.R. files from

Ramirez; counsel wishes to produce the un-redacted files to counsel of record in Baker only.

        7.      Moreover, Plaintiffs’ counsel acknowledges that the Ramirez C.R. files would be

subject to the protective order in Baker, which – much like the Ramirez protective order –

prevents public disclosure of un-redacted C.R. files. See Exhibit C (Baker v. City of Chicago

protective order) at ¶ 2(b).

        8.      In other words, the documents at issue would be entitled to the same level of

protection from public dissemination as they currently are under the Ramirez order. The only

difference is that they could also be used by lawyers in the Baker litigation, without forcing the

City’s current lawyers to undertake a new search for all of the documents and produce them



                                                 2
again in Baker.

       WHEREFORE, Plaintiffs respectfully request that the Court modify the protective order

in this case such that Plaintiffs’ counsel may disclose to the C.R. files produced in Ramirez to

counsel of record in Baker v. City of Chicago, No. 16 cv 8690 (N.D. Ill.).

                                                             Respectfully submitted,

                                                             /s/Elizabeth Mazur


Jon Loevy
Russell Ainsworth
Joshua Tepfer
Elizabeth Wang
Elizabeth Mazur
LOEVY & LOEVY
311 North Aberdeen Street
Third Floor
Chicago, Illinois 60607
Phone: (312) 243-5900
Fax: (312) 243-5902




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                                CERTIFICATE OF SERVICE

       I, Elizabeth Mazur, an attorney, certify that I served a copy of this pleading on counsel of
record via the ECF System. I also served a copy on counsel of record in Baker v. City of
Chicago, No. 16 CV 8960 (N.D. Ill.) via electronic mail.


                                                             /s/Elizabeth Mazur




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